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February 17, 2011

VIA FEDERAL EXPRESS

Christine Patch

Docket Clerk to Hon. Patti Saris

U.S. District Court, District of Massachusetts
1 Courthouse Way, Suite 2300

Boston, MA 02210

Re: dInre Pharmaceutical Industry Average Wholesale Price Litigation
MDL No. 1456, No. 01-cv-12257-PBS, Sub-Docket Nos. 07-cv-12141-PBS and
03-cv-10643-PBS

Dear Ms. Patch:

Alex Sadler and I are counsel for defendant Purepac Pharmaceutical Company, and we
are seeking pro hac vice admission in the above-captioned matter (specifically as to the Sub-
Docket numbers referenced). I enclose a check for $100.00, along with a joint Notice of
Appearance/Motion for Admission and declarations for each of us.

As noted in my declaration, I am a member in good standing of the State Bars of Virginia
and the District of Columbia, and I have been admitted to practice before the United States
Supreme Court, United States Courts of Appeals for the District of Columbia Circuit and the
Second Circuit, as well as the United States District Courts for the District of Columbia and the
Eastern District of Virginia.

As noted in Mr. Sadler’s declaration, he is a member in good standing of the State Bars
of Maryland and the District of Columbia, and he has been admitted to practice before the United
States Court of Appeals for the Federal Circuit, the United States District Courts for the District
of Columbia, the District of Maryland, and the Central District of Illinois, the United States
Court of Federal Claims, and the United States Tax Court.

| understand that, pursuant to paragraph 16 of Case Management Order No. 1 in the
above-referenced action, counsel who are in good standing in any district court of the United

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States and who pay the appropriate filing fee are “deemed admitted pro hac vice to practice
before this Court in connection with this action.”

Please let me know if you have any questions regarding this letter, or if | should make
arrangements to have the documents served on other counsel.

Thank you very much for your assistance.

Sincerely,

Oaid $ Ge

David E. Bell
Enclosures

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